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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                        )
DAVID J. RUDOMETKIN, et al,             )
                                        )
              Plaintiffs,               )
                                        )
       v.                               )             Civil Action No. 21-cv-2220 (TSC)
                                        )
LLOYD J. AUSTIN, in his capacity as the )
Secretary of Defense,                   )
                                        )
              Defendant.                )
                                        )

                                             ORDER

       Defendant Lloyd Austin III, in his official capacity as the U.S. Secretary of Defense, has

moved to dismiss the Complaint under Rules 12(b)(1) and 12(b)(6) of the Federal Rules

of Civil Procedure, (ECF No. 25), and to be excused from the requirements from any

obligation pursuant to Local Civil Rule 7(n) to file a certified list of the contents of the

administrative record simultaneously with his dispositive motion to dismiss. Because a ruling

on the motion to dismiss might fully dispose of this case, the court hereby advises the pro se

Plaintiffs of their obligations under the Federal Rules of Civil Procedure and the rules of this

court. See Neal v. Kelly, 963 F.2d 453, 456 (D.C. Cir. 1992); Fox v. Strickland, 837 F.2d 507,

509 (D.C. Cir. 1988).

       In Fox v. Strickland, 837 F.2d 507 (D.C. Cir. 1988), the Court of Appeals held

that a district court must take pains to advise a pro se party of the consequences of

failing to respond to a dispositive motion. Such “notice . . . should include an

explanation that the failure to respond . . . may result in the district court granting the

motion and dismissing the case.” Id. at 509. In addition, the court’s local rules

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concerning dispositive motions state: “[w]ithin 14 days of the date of service or at such

other time as the Court may direct, an opposing party shall serve and file a

memorandum of points and authorities in opposition to the motion [or] the Court may

treat the motion as conceded.” Local Civil Rule 7(b). Moreover, the court may treat as

conceded any arguments a defendant has advanced in support of its motion that a

plaintiff fails to address in his opposition. See Hopkins v. Women’s Div., General Bd.

of Global Ministries, 284 F. Supp. 2d 15, 25 (D.D.C. 2003), aff'd, 98 F. App’x. 8 (D.C.

Cir. 2004) (citing FDIC v. Bender, 127 F.3d 58, 67-68 (D.C. Cir. 1997)) (other citation

omitted).

       The Plaintiff is advised that the court will rule on the Defendant’s motions taking into

consideration the facts proffered in the Amended Complaint, along with the Plaintiffs’ response

or opposition to the motions. Plaintiff shall file his opposition or other response to the

motion to dismiss and motion to excuse compliance with Local Civil Rule 7(n) no later than

October 31, 2022. If the Plaintiff does not respond by that date or does not fully respond to

the arguments raised by the Defendants, the court may treat the motions as conceded and

dismiss the claims asserted against the moving Defendants.

       Plaintiff’s responses shall be limited to twelve pages each. Plaintiff is hereby

reminded that “[a]ll pleadings shall appear in 12-pt. font and shall be double-spaced.

Footnotes, which shall not be excessive, shall also appear in 12-pt. font.” Local Civil

Rule 5.1(d).

            The Clerk of the Court shall mail a copy of this order to:

                              DAVID J. RUDOMETKIN
                              R#96434
                              U.S. DISCIPLINARY BARRACKS

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                           ROBERT L. BARNETT, III
                           U.S. DISCIPLINARY BARRACKS
                           1300 N. Warehouse Road
                           Fort Leavenworth, KS 66027

Date: September 11, 2022


                                        Tanya S. Chutkan
                                        TANYA S. CHUTKAN
                                        United States District Judge




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